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 1                                                 PROOF OF SERVICE

 2          I am employed in the County of Los Angeles, State of California. I am over the age of 18 and not a
   party to the within action. My business address is 16130 Ventura Boulevard, Suite 650, Encino, CA 91436.
 3 On March 19, 2014, I served the within document(s) described as: CLASS MEMBER DONALD SILVESTRI’S
   OBJECTION TO FEE REQUEST AND EXPENSE REQUEST on the interested parties in this action as stated
 4 on the attached mailing list:

 5     x     (BY MAIL) By placing a true copy of the foregoing document(s) in a sealed envelope addressed as
             set forth on the attached mailing list. I am readily familiar with my office’s practice for collection and
 6           processing of correspondence for mailing. Under that practice it would be deposited with the U.S.
             Postal Service on that same day with postage thereon fully prepaid in the ordinary course of
 7           business. I am aware that on motion of the party served, service is presumed invalid if postal
             cancellation date or postage meter date is more than one day after date of deposit for mailing
 8           contained in affidavit.

 9
              (BY OVERNIGHT DELIVERY) I deposited in a box or other facility regularly maintained by Federal
10           Express, an express service carrier, or delivered to a courier or driver authorized by said express
             service carrier to receive documents, a true copy of the foregoing document(s) in a sealed envelope
11           or package designated by the express service carrier, addressed as set forth on the attached mailing
             list, with fees for overnight delivery paid or provided for.
12

13            (BY PERSONAL DELIVERY) By providing a true and correct copy of the foregoing document(s) in a
             sealed envelope to each of the addressees listed above.
14
           I declare under penalty of perjury under the laws of the State of California that the foregoing is true
15 and correct.

16           Executed on March 19, 2014, at Encino, California.
17
                       David N. Lake                                                  /s/
18                  (Type or print name)                                               (Signature)
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 1                                            SERVICE LIST

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    for the Northern District of California
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 5 San Francisco, CA 94102

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 8 San Francisco, CA 94123

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   Hojoon Hwang, Esq.
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